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         < Details         Inventory Record                  PDF


         Part Ii: Railroad Information



          Total Daylight Thru Trains
          1




          Total Night time Thru Trains
          0



          Total Switching Trains
          0



          Total Transit Trains
          N/A


          Check if Less Than One Movement Per Day
          N/A


          How many trains per week?
          N/A


          Year of Train Count Data (YYYY)
          N/A


          Maximum Timetable Speed (mph)
          10



          Typical Speed Range Over Crossing (mph) From
          1



          Typical Speed Range Over Crossing (mph) To
          10



          Type and Count of Tracks (Main)
          1




          Type and Count of Tracks (Siding)
          N/A


          Type and Count of Tracks (Yard)
          N/A


          Type and Count         I
